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RANDALL TODD ROYER,

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            Peti tioner,                                                          AL      ..


      v.                                        Civ. No. i'lii(T\J8oj                      JM6 IOpt
ERIC D. WILSON,
                                                                                        E E E II i
            Respondent.
                                                                                         JUN 23 2014            j
                 PETITION   FOR WRIT OF HABEAS              CORPUS

I.    Introduction                                                                 CLERK, U.S. DISTRICT COURT
                                                                                          RICHMOND, VA

      This is a petition for writ of habeas corpus pursuant to 28
U.S.C. § 2241. Petitioner is a federal prisoner in the custody of
Respondent within the territorial jurisdiction of the U.S.
District Court for the Eastern District of Virginia. In 2004
Petitioner pleaded guilty in this district to one count of aiding
and abetting the use of a firearm during and in relation to a

crime of violence, in violation of 28 U.S.C. § 924(c), and one
count of aiding and abetting the carrying of an explosive during
the commission of a felony, in violation of 18 U.S.C. § 844(h).
He was sentenced to consecutive ten-year prison terms on each
count .


     In the instant petition, Petitioner argues that his § 924(c)
conviction should be vacated because a recent change in Fourth
Circuit Court of Appeals law has rendered the conduct at issue in
that conviction non-criminal. Specifically, Petitioner argues
that under this new precedent, the methodology for determining
whether an offense is a "crime of violence" has changed,
disqualifying the statute underlying the § 924(c) conviction from
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Report Prisoner Data (Middle Name)

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Tuesday, June 24, 2014                                                                                                           l'<W ' ofI
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                                           Randall Todd Royer
                                           Reg No. 46812-083
                                           Federal Correctional Complex
                                           P.O.   Box   1000
                                           Petersburg, VA      23804

June 12,       2014

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Clerk    of    the    Court
                                                                        CLL              ;t Ci J n
401 Courthouse Square                                                      ale:—              •=1

2nd    Floor
Alexandria,          VA     22314-5704

RE:    Notice    of       Related   Case
       Filing Fee

Dear    Sir or       Madam:

     Enclosed please find a Petition for Writ of Habeas Corpus.
Although I am incarcerated near the Richmond Division, I am
mailing it to the Alexandria Division because it concerns my
criminal case, United States v. Royer, Cr. No. 03-296-A, which
was filed in this Division and assigned to Judge Brinkema.

     Additionally, I have caused to be sent under separate cover
a check for the $5.00 filing fee for this petition, it should
arrive shortly after this petition. If it has not arrived within
a few days of receiving this petition, I trust that you will
inform me of          this    fact.

       Thank you for your assistance.

                                           Si




                                            andall Todd Royer



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enclosure
                                                                            JUN 2 3 2014

                                                                       clerk, u.s. district court
                                                                             RICHMOND. VA
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                                                                       Court Clerk
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                                                                       Alexandria, VA 22314-5704
                                                                       United States
